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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

CONSTANCE COLLINS, et al.,                       *

       Plaintiffs,                               *

  v.                                             *           Civil Action No. 1:20-cv-01225-PX

TRI-STATE ZOOLOGICAL PARK                        *
OF WESTERN MARYLAND, INC., et al.,
                                                 *
       Defendants.
                                              ***
                                             ORDER

  1. On December 2, 2021, Counsel for Defendants, Nevin L. Young, moved for the pro hac

       vice admission of John M. Pierce. ECF No. 69. The Clerk of Court granted the motion

       on the same day. ECF No. 70.

  2. Since that time, information has come to light which casts doubt on the veracity and

       reliability of the pro hac vice motion. First, Young and Pierce certified in the motion that

       Pierce was a member in good standing of only two bars—the State of California and the

       United States District Court for the Central District of California. ECF No. 69 at 1. But

       Pierce has previously certified before other federal courts that he is authorized to practice

       in many other courts throughout the United States. See, e.g., Declaration of John M.

       Pierce in Support of Motion to Admit Pro Hac Vice, Page v. Comey, No. 20-3460-DLF

       (D.D.C. Nov. 27, 2020), ECF No. 7-1 (listing additional admissions in the Supreme Court

       of the United States, Northern District of California, Eastern District of California,

       Western District of Pennsylvania, and the Eastern District of Texas); Motion for Leave to

       Appear Pro Hac Vice, Finicum v. United States, No. 18-160-MO (D. Or. Nov. 22, 2021),

       ECF No. 203 (listing additional admissions in the Northern District of California, Eastern
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         District of California, Western District of Pennsylvania, and Eastern District of Texas).

         Failure to include a complete list of such memberships raises concern about counsels’

         care and attention paid to court filings. It also impedes this Court’s ability to conduct its

         own due diligence, which is central to the pro hac vice admissions process.

    3. Second, Pierce and Young submitted an identical pro hac vice application in Love v.

         Hogan, which was denied yesterday by the Clerk of Court. See Motion to Appear Pro

         Hac Vice, Love v. Hogan, No. 21-2029-RDB (D. Md. Dec. 30, 2021), ECF No. 10;

         Paperless Order Denying Admission Pro Hac Vice, Love v. Hogan, No. 21-2029-RDB

         (D. Md. Feb. 15, 2022), ECF No. 17. This denial warrants reconsideration of the earlier

         grant of pro hac vice admission.

    4. Last, the Court is concerned about Pierce’s apparent heavy reliance on an “associate” at

         his law firm, Ryan Marshall, who participated actively in Love v. Hogan while not yet

         authorized to practice law. Compare Motion to Withdraw as Attorney, Love v. Hogan,

         No. 21-2029-RDB (D. Md. Dec. 30, 2021), ECF No. 3 (local counsel chronicling

         extensive communications with Marshall in August 2021), with Provisionally Licensed

         Lawyer Search, https://apps.calbar.ca.gov/provisional/lookup (confirming Marshall

         obtained provisional license to practice law under the supervision of Pierce as of

         November 2, 2021). Beyond his involvement in Love, court records also show that

         Marshall appeared as an associate of Pierce’s firm in multiple federal criminal matters

         pending before the United States District Court for the District of Columbia. As in Love,

         Marshall had not yet obtained his California state provisional law license, 1 nor was he


         1
           In California, an attorney may be granted a “provisional license” to practice under the close supervision of
licensed attorney—for Marshall this is Pierce. A provisional license may be granted without the applicant having
taken or passed the California Bar examination, obtained a positive moral character determination, or sat for the
Multistate Professional Responsibility Examination. See Order re Request for Approval of Proposed Amendments

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         admitted to practice law in any other jurisdiction. Although Marshall disclosed that he

         had yet to obtain his law license, he nonetheless filled in for Pierce in status conferences

         and counsel meetings, wherein he gave several seemingly inconsistent grounds for

         Pierce’s sudden inability to participate as counsel of record. See Notice Regarding

         Defense Counsel John Pierce, United States v. Lee, 21-0303-ABJ-ZMF-2 (D.D.C. Aug.

         30, 2021), ECF No. 11 (recounting, among other things, contradictory explanations for

         Pierce’s absence). 2

    5. Based on the foregoing, this Court is concerned about the veracity and reliability of the

         application at ECF No. 69, and about counsel’s fitness for pro hac vice admission.

         Accordingly, the Court hereby ORDERS that within seven days from today, Pierce and

         Young SHOW CAUSE as to why the pro hac admission of John M. Pierce should not be

         STRICKEN.



2/16/2022                                                                               /s/
Date                                                                     Paula Xinis
                                                                         United States District Judge




to the California Rules of Court, https://newsroom.courts.ca.gov/sites/default/files/newsroom/2021-
01/20210128062716391.pdf. Clearly, a provisional licensee does not stand on the same footing as an active member
of the California Bar. Yet just six days after Marshall obtained his provisional license, he applied for pro hac vice
admission in the United States District Court for the District of Oregon, certifying that he is “an active member in
good standing with the California State Bar.” See Motion for Leave to Appear Pro Hac Vice, Finicum v. United
States, No. 18-160-MO (D. Or. Nov. 8, 2021), ECF No. 195 (emphasis added).
         2
           The filing also refers to Marshall facing felony criminal charges in two separate actions filed in the Court
of Common Pleas of Fayette County, Pennsylvania, to include charges of conspiracy to commit fraud while clerking
for a judge on the Pennsylvania Court of Common Pleas. See Notice Regarding Defense Counsel John Pierce,
United States v. Lee, 21-0303-ABJ-ZMF-2 (D.D.C. Aug. 30, 2021), ECF No. 11 at 1 n.2.

                                                          3
